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Case 4:07-cv-05944-JST Document 2696-2 Filed 07/22/14 Pagelof5

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

In re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

This Document Relates to Individual Case No.

3:13-cv-02171-SC

DELL INC. and DELL PRODUCTS L.P.,
Plaintiffs,
v.

HITACHI, LTD., ef al.,

Defendants.

Master File No. 3:07-cv-05944-SC (N.D. Cal.)
MDL No. 1917

Individual Case No. 3:13-cv-02171-SC

DECLARATION OF MATTHEW D. KENT
IN SUPPORT OF PLAINTIFFS DELL
INC.’S AND DELL PRODUCTS L.P.’S
ADMINSTRATIVE MOTION

DECL. OF MATTHEW D. KENT ISO
DELL’S ADMINISTRATIVE MOTION

No. 3:13-ev-02171-SC
MDL No, 1917

Case 4:07-cv-05944-JST Document 2696-2 Filed 07/22/14 Page 2of5

I, MATTHEW D. KENT, declare as follows:

1. 1 am an associate with the law firm of Alston & Bird LLP, counsel for Plaintiffs Dell
Inc. and Deli Products L.P. (collectively, “Dell”) in the above-captioned action currently pending in the
U.S. District Court for the Northern District of California. I submit this Declaration in support of
Dell’s Administrative Motion to Confirm its Opt Out Request or, in the Alternative, for an Enlargement
of Time to Opt Out. I have personal knowledge of the facts stated herein, and I could and would
competently testify thereto if called as a witness.

2. Iam a member in good standing of the State Bar of Georgia and am admitted to practice
before the U.S. District Court for the Northern District of Georgia. Pursuant to the Court’s Pretrial
Order No. 1 in the MDL Proceeding, I have been admitted pro hac vice in this litigation.

3. After I learned of the DPP settlement with Hitachi and SDI (the “Settling Defendants”),
I began checking the class settlement administrator’s “Dates to Remember” webpage located at
http://www. crtdirectpurchaserantitrustsettlement.com/dates-to-remember.aspx to determine the
deadline to opt out of the settlements with Hitachi and SDI. I visited the “Dates to Remember” page
between April 1, 2014 and May 16, 2014, and when I visited the website, the “Dates to Remember”
page did not reflect the opt out deadline of June 12, 2014.

4. Although this page was updated with information regarding the date of the Final
Approval Hearing, it was not updated to reflect the deadline for opting out of the settlements with
Hitachi and SDI (“Proposed Settlement Classes”). The Dates to Remember page still has not been
updated to reflect the opt out deadline for the Proposed Settlement Classes. A true and correct copy of
this page as of July 22, 2014, is attached as Exhibit 8.

5. On June 26, 2014, I spoke with Richard Alexander Saveri, counsel for the DPPs. He
informed me that they were surprised that Dell had not submitted an opt out request by June 12, 2014,
the deadline for opting out of the Proposed Settlement Classes.

6. This was the first time that I became aware that the opt out deadline was June 12, 2014.

7. Immediately after that phone conversation, I prepared and submitted Dell’s opt out
request by email and U.S mail.

8. Dell’s opt out notice was received by the DPP Settlement Administrator, and Dell Inc.

-2-

DECL. OF MATTHEW D. KENT ISO No. 3:13-cev-02171-SC
DELL’S ADMINISTRATIVE MOTION MDL No. 1917

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Case 4:07-cv-05944-JST Document 2696-2 Filed 07/22/14 Page 3of5

and its subsidiaries are correctly reflected on the Report on Exclusions filed with the Court on June 26,
2014, See Bernstein Decl., Ex. 1 (Dkt. No. 2650 (Murray Decl.) 9, Ex. C).

9, Dell has been actively litigating its claims against both Settling Defendants since Dell
filed its First Amended Complaint, during the opt out period, and after the opt out period closed.

10. Counsel for Dell has attended seven Hitachi percipient witness depositions. In June
2013, counsel for Dell took lead in examining Kenichi Hazuku, a Hitachi percipient witness.

11. Counsel for Dell has attended nine SDI percipient witness depositions and asked
questions at a number of these depositions.

12. Between April 14, 2014 (the date the Court preliminarily approved the Proposed
Settlement Classes), and June 12, 2014 (the deadline for opting out of the Proposed Settlement

Classes), Dell and the Settling Defendants were engaged in extensive discovery, including the

following:

a. On April 15, 2014, Dell served a 30(b)(6) deposition notice on SDI, to which SDI
objected on May 6, 2014. Counsel for SDI and Dell met and conferred regarding
this 30(b)(6) on multiple occasions, including on April 15, 2014, and via email and
correspondence on May 23, 2014, and May 29, 2014.

b. On May 5, 2014, Dell served its third set of interrogatories and requests for
admission on SDI.

c. On May 7, 2014, SDI served its third set of interrogatories on Dell, to which Dell
responded on June 9, 2014.

d. On May 7, 2014, Hitachi served its first requests for production of documents to
Dell, to which Dell responded on June 9, 2014.

e. On May 8, Dell served its first set of interrogatories and requests for admission on
Hitachi, to which Hitachi responded in part on June 9, 2014.

f. On May 12, Tyler Cunningham, counsel for SDI, sent Dell a letter requesting
supplementation of Dell’s responses to discovery served by SDI.

g. On May 15, 2014, Matthew Hertko, counsel for Hitachi, sent a letter asking about
back-up data provided by Dr. Mohan Rao on April 18, 2014, in connection with his

-3-
DECL. OF MATTHEW D. KENT ISO No. 3:13-ev-02171-8C

DELL’S ADMINISTRATIVE MOTION MDL No. 1917

Case 4:07-cv-05944-JST Document 2696-2 Filed 07/22/14 Page 4of5

expert report submitted on behalf of Dell. Dell responded to this letter on May 16,
2014.

h. On June 2, 2014, Mr. Cunningham and Matthew Hertko, counsel for Hitachi,
questioned Dell’s 30(b)(6) witness, Julie French.

i. On June 10, 2014, Jim Mutchnik, counsel for Hitachi took lead at the deposition of
Dell’s damages expert, Dr. Mohan Rao. Jim McGinnis, counsel for SDI also
examined Dr. Mohan Rao,

13. Between June 12, 2014, and June 26, 2014 (the date on which Dell submitted its opt out
request), Dell and the Settling Defendants engaged in additional discovery, including:

a. On June 17, 2014, Mr. Adelson participated in a telephonic conference with counsel
for Dell, regarding a draft 30(b)(6) notice that Dell served on Hitachi Displays Ltd.

b. On June 18, 2014, SDI Co. Ltd. Goined by LG Electronics, Inc.) served their fourth
set of interrogatories and second set of request for production of documents on Dell.

c. On June 23, 2014, SDI served its responses and objections to Dell’s third set of
interrogatories and requests for admission.

d, On June 26, 2014, counsel for Dell, examined Dr. Vandy Howell, an expert witness
proffered by Hitachi.

14. Even after June 26, 2014, when Hitachi and SDI received the Report on Exclusions,
which identified the date upon which each entity submitted its opt out request, Dell has continued to
engage in extensive discovery with SDI and Hitachi. For example, On July 2, 2014, Hitachi served
voluminous discovery on Dell, including requests for production, requests for admission, and
interrogatories. Counsel for SDI, Mr. Cunningham, sent a letter requesting that Dell supplement its
discovery responses on July 7, 2014.

15. The Settling Defendants continued to engage in discovery with Deli even after July 8,
2014, the date on which counsel for Deil notified counsel for the Settling Defendants about Dell’s June
26 opt out notice and requested their agreement not to oppose Dell’s exclusion from the Proposed
Settlement Classes. This discovery included:

a. Counsel for SDI have been included on multiple emails regarding the scheduling of

-4-

DECL. OF MATTHEW D. KENT ISO No, 3:13-cev-02171-8C
DELL’S ADMINISTRATIVE MOTION MDL No, 1917

Case 4:07-cv-05944-JST Document 2696-2 Filed 07/22/14 Page5of5

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I declare

Dell percipient witness depositions, the latest sent on July 21, 2014.

On July 10, 2014, counsel for Dell defended the deposition of Dr. Stephan Haggard,
an expert proffered by the Direct Action Plaintiffs (“DAPs”) on issues specific to
their claims against SDI.

On July 14, 2014, Dell served SDI with supplemental discovery responses.

On July 15, 2014, Mr. Hertko, counsel for Hitachi, sent Debra Bernstein a letter,
copying Mr. Adelson and Mr. Mutchnik, demanding additional back up material
from Dr, Rao in connection with expert report regarding Dell’s damages and his
deposition regarding the same.

On July 17, 2014, counsel for Dell defended the deposition of Dr. Kenneth G.
Elzinga, an expert proffered by Dell and other DAPs against all MDL Defendants,
including the Settling Defendants.

On July 21, 2014 Dell responded to additional discovery served by SDI.

under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on July 22, 2014, in Atlanta, Geof#ia.

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DECL. OF MATTHEW D, KENT ISO No. 3:13-ev-02171-SC
DELL’S ADMINISTRATIVE MOTION MDL No. 1917

